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11
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12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,                Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                    DECLARATION OF THERESA TRILLO
19 vs.                                             IN SUPPORT OF PLAINTIFF'S MOTION
                                                   FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION dba                        COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                   Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                   Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee                 Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated          Hon. Sean Riordan
   February 6, 2002,
24

25
                           Defendants.
26

27

28
                                             1
     DECLARATION OF THERESA TRILLO ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
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 1          I, Theresa Trillo, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California. I am an associate

 5   attorney with Aqua Terra Aeris (“ATA”) Law Group, representing California Coastkeeper Alliance

 6   (“Plaintiff”) in the above referenced action.

 7          3.       I make this Declaration in support of Plaintiff’s Motion for Interim Award of Fees

 8   and Costs, filed herewith. The facts set forth in this declaration are based on my personal

 9   knowledge, unless otherwise stated; if called to testify as a witness, I could and would competently

10   testify thereto under oath.

11      I. BIOGRAPHICAL INFORMATION

12          1.       In 2021, I graduated from Lewis & Clark Law School and obtained two certificates,
13   one in Environmental and Natural Resources Law and another in Animal Law.
14          2.       In June 2023, I was admitted to practice law in the state of California. In September
15   2023, I was admitted to practice in the U.S. District Court for the Northern District of California,
16   the U.S. District Court for the Central District of California, and the U.S. District Court for the
17   Eastern District of California.
18          3.       Prior to law school, I worked as a legal assistant at the Law Offices of Nooshin Dalili
19   for more than two years.
20          4.       In July 2021, I joined ATA as a paralegal. While working as a paralegal, I performed
21   paralegal and law clerk type work.
22          5.       In August 2023, after being admitted to practice law, I transitioned into my current
23   role at ATA as an associate attorney.
24          6.       With ATA, my practice focuses on public interest environmental law matters under
25   both state and federal jurisdictions. I work on a variety of issues, including matters involving
26   federal laws such as the Clean Water Act (“CWA”) and Resource Conservation and Recovery Act
27

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                                              2
      DECLARATION OF THERESA TRILLO ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                            COSTS
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 1   (“RCRA”). On the state side, my practice includes matters involving California-specific

 2   environmental laws such as the California Environmental Quality Act (“CEQA”).

 3         7.      My 2025 rate for attorney work in the Eastern District of California is $345 per hour.

 4   Given my experience, skill, and reputation, my rates requested herein are reasonable.

 5         8.      In July 2024, in Ecological Rights Foundation et al. v. Hot Line Construction, Inc.

 6   (5:20-cv-01108-AB-kk), the Central District of California recently found that a rate of $455 per

 7   hour was reasonable for my services. Even when compared to the relatively lower rates more

 8   common in the Eastern District of California, this rate reflects the reasonableness of the $345

 9   hourly rate offered herein. Prior to my admission to the California Bar on June 18, 2023, I worked

10   for ATA as a paralegal. My 2025 rate for paralegal work in the Eastern District of California is

11   $218 per hour. Given my experience, skill, and reputation, my rates requested herein are

12   reasonable; this rate was applied for all work conducted by me prior to my admission to the

13   California Bar.

14     II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

15         1.      The following is a detailed but non-exhaustive accounting of my participation in this
16   matter. For a complete accounting of the time I spent on this matter, please review my billing
17   entries filed concurrently herewith.
18         2.      Throughout the litigation, I provided legal assistant and paralegal-type services.
19   Towards this end, I helped to schedule litigation-related deadlines and set in-firm, internal
20   calendar invites for such deadlines. I prepared notices of association and notices of appearance for
21   Mr. Flanders and Mr. Hunt. I also prepared tables of authorities, tables of contents, proposed
22   orders, and other aspects of various motions and other filings submitted as part of Plaintiff’s
23   prosecution of this case. I also assisted in the finalization, service, and filing of motions and other
24   documents.
25         3.      I also provided attorney-type services throughout this litigation. For example, in
26   November 2021, I drafted a settlement conference statement and at the start of 2022, I assisted
27   with a stipulation to modify the scheduling order in this matter.
28
                                             3
     DECLARATION OF THERESA TRILLO ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
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 1          4.      In February 2022, I edited and finalized a Touhy request to the U.S. Army Corps of

 2    Engineers and third-party subpoenas to the California Department of Fish and Wildlife, and

 3    Regional Water Quality Control Board, among others. I also helped coordinate service of these

 4    subpoenas.

 5          5.      In March 2024, I also conducted research into some hearsay dynamics at issue in this

 6    matter.

 7          6.      In April 2024, I helped draft, finalize, and file a request to file documents under seal

 8    in support of Plaintiff’s Motion for Leave File Third Amended Complaint, along with the related

 9    proposed orders.

10          7.      Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

11    records that document the time that I spent on this case. I personally and contemporaneously kept
12
      these records using computer timekeeping software documenting the hours I worked on this case.
13

14
            I declare, under penalty of perjury under the laws of the State of California that the
15
     foregoing is true and correct. Executed on the 15th day of April 2025 in Los Gatos, California.
16

17
                                                           /s/ Theresa Trillo
18                                                         Theresa Trillo
19

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                                              4
      DECLARATION OF THERESA TRILLO ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                            COSTS
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Date      Client   Matter      Staff           Description                                                           Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                               Draft notice of appearance for D. Hunt and research Local Rules.

                   Murieta
                   Equestrian
  8/16/2021 CCKA   Center     Theresa Trillo                                                                                 0.8    $218.00           $174.40                                    $0.00                                      0

                                               Review Local Rule 182 and example notice of association of counsel;
                                               send info to J. Flanders.
                   Murieta
                   Equestrian
  8/20/2021 CCKA   Center     Theresa Trillo                                                                                 0.5    $218.00           $109.00                                    $0.00                                      0

                                               Draft notice of association and send to J. Flanders for review.

                   Murieta
                   Equestrian
   9/2/2021 CCKA   Center     Theresa Trillo                                                                                 1.5    $218.00           $327.00                                    $0.00                                      0

                                               Create spreadsheet with dates from scheduling order and add to
                                               calendar.
                   Murieta
                   Equestrian
 10/15/2021 CCKA   Center     Theresa Trillo                                                                                 0.7    $218.00           $152.60                                    $0.00                                      0

                                               Finalize and file notice of appearance for D. Hunt.

                   Murieta
                   Equestrian
 10/27/2021 CCKA   Center     Theresa Trillo                                                                                 0.4    $218.00            $87.20                                    $0.00                                      0

                                               Work on draft of settlement conference statement.

                   Murieta
                   Equestrian
  11/3/2021 CCKA   Center     Theresa Trillo                                                                                 0.4    $218.00            $87.20                                    $0.00                                      0

                                               Continue draft of settlement conference statement.

                   Murieta
                   Equestrian
  11/5/2021 CCKA   Center     Theresa Trillo                                                                                 0.8    $218.00             $0.00                               $174.40                                        0.8

                                               Finish draft of Murieta Equestrian Center settlement conference
                                               statement.
                   Murieta
                   Equestrian
  11/8/2021 CCKA   Center     Theresa Trillo                                                                                 1.9    $218.00           $414.20                                    $0.00                                      0

                                               Convert jpeg to pdf, bates stamp, and create caption for first
                                               supplemental document production.
                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center     Theresa Trillo                                                                                 1.1    $218.00           $239.80                                    $0.00                                      0

                                               Update rainfall excel chart.

                   Murieta
                   Equestrian
 11/23/2021 CCKA   Center     Theresa Trillo                                                                                 0.8    $218.00           $174.40                                    $0.00                                      0




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Date      Client   Matter      Staff           Description                                                                      Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                               Call to Atkinson-Baker re: status of 11/15 deposition transcript.

                   Murieta
                   Equestrian
 11/30/2021 CCKA   Center     Theresa Trillo                                                                                            0.1    $218.00            $21.80                                    $0.00                                     0

                                               Left message with Brandon at Atkinson-Baker re: status of 11/15
                                               deposition transcript.
                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Theresa Trillo                                                                                            0.1    $218.00            $21.80                                    $0.00                                     0

                                               Download and share new S. Bothwell files from Veritext with J. Flanders
                                               and E. Maharg.
                   Murieta
                   Equestrian
  1/12/2022 CCKA   Center     Theresa Trillo                                                                                            0.1    $218.00            $21.80                                    $0.00                                     0

                                               Telephone call with Veritext to get new file links for S. Bothwell transcript.

                   Murieta
                   Equestrian
  1/12/2022 CCKA   Center     Theresa Trillo                                                                                            0.1    $218.00            $21.80                                    $0.00                                     0

                                               Review Magistrate Barnes' scheduling order for case, look for standing
                                               orders, and review local rules for requirements on modifying scheduling
                   Murieta                     order. Revise draft stipulation re: scheduling order.
                   Equestrian
  1/14/2022 CCKA   Center     Theresa Trillo                                                                                            1.2    $218.00           $261.60                                    $0.00                                     0

                                               Edits to draft stip & proposed order.

                   Murieta
                   Equestrian
   2/4/2022 CCKA   Center     Theresa Trillo                                                                                            0.6    $218.00           $130.80                                    $0.00                                     0

                                               File stipulation re: scheduling and proposed order and send native word
                                               version to judge.
                   Murieta
                   Equestrian
   2/4/2022 CCKA   Center     Theresa Trillo                                                                                            0.5    $218.00           $109.00                                    $0.00                                     0

                                               Review local rules and judge's "standard information" for info on filing
                                               stipulations and proposed orders.
                   Murieta
                   Equestrian
   2/4/2022 CCKA   Center     Theresa Trillo                                                                                            0.2    $218.00            $43.60                                    $0.00                                     0

                                               Edit caption pages for USACOE subpoena. Look for service address and
                                               make calls to Sacramento division. Email to J. Flanders re same.
                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Theresa Trillo                                                                                            0.6    $218.00           $130.80                                    $0.00                                     0

                                               Telephone call with J. Flanders re: U.S. Army Corps of Engineers
                                               subpoena.
                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Theresa Trillo                                                                                            0.2    $218.00            $43.60                                    $0.00                                     0




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                                               Finalize and submit subpoenas for California Department of Fish and
                                               Wildlife and Regional Board.
                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Theresa Trillo                                                                                       2.0    $218.00           $436.00                                    $0.00                                      0

                                               Finalize U.S. Army Corps of Engineers subpoena documents and Proof
                                               of Service. Submit subpoena order to ACE and email to opposing
                   Murieta                     counsel.
                   Equestrian
   2/8/2022 CCKA   Center     Theresa Trillo                                                                                       1.3    $218.00           $283.40                                    $0.00                                      0

                                               Locate service address for Regional Water Board and DFW. Send email
                                               to J. Flanders re: same. Finalize Proof of Service for each subpoena.
                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Theresa Trillo                                                                                       0.8    $218.00           $174.40                                    $0.00                                      0

                                               Confirm no trial date is set for case and email C. Hudak re: same. Listen
                                               to voicemail from U.S. Army Corps of Engineers and email them re:
                   Murieta                     address for personal service of subpoena.
                   Equestrian
   2/8/2022 CCKA   Center     Theresa Trillo                                                                                       0.5    $218.00           $109.00                                    $0.00                                      0

                                               Telephone call with ACE re: service of process turn around time for
                                               delivery attempt. Email to J. Flanders re: same.
                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                      0

                                               Call with J. Flanders re: subpoena service on California Department of
                                               Fish and Wildlife
                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00             $0.00                                $21.80                                        0.1

                                               Create tables for motion for leave to file Second Amended Complaint
                                               and edit declaration cites. Assist with finalizing exhibits.
                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Theresa Trillo                                                                                       3.0    $218.00           $654.00                                    $0.00                                      0

                                               Telephone call with E. Bustos re: ECF filing of Second Amended
                                               Complaint.
                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00             $0.00                                $43.60                                        0.2

                                               Calls with T. Brett re: Touhy letter to U.S. Army Corps of Engineers

                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00            $43.60                                    $0.00                                      0

                                               call with T. Brett re: service of requests for admission and requests for
                                               production
                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00            $43.60                                    $0.00                                      0




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                                               Call with T. Brett re: service of additional discovery on defendant and
                                               third party.
                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Call with T. Brett re: subpoena to water resources control board.

                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Telephone call with T. Brett re: Murieta Equestrian Center discovery
                                               checklist.
                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Finalize and submit Touhy request and subpoenas to state water board,
                                               carol Anderson, and Rancho Murieta Community Services District.
                   Murieta                     Serve subpoenas on opposing counsel.
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       3.3    $218.00           $719.40                                    $0.00                                     0

                                               Finalize Proof of Service for requests for admission and requests for
                                               production. Email to opposing counsel.
                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.5    $218.00           $109.00                                    $0.00                                     0

                                               Calendar motion hearing and rename filed motion documents.

                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                               Finalize and email letter to opposing counsel re: duty to supplement
                                               discovery responses.
                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                               Telephone call with T. Brett re: Murieta Equestrian Center discovery
                                               checklist.
                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Find service of subpoenas in practice guide and send pictures of findings
                                               to T. Brett.
                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Theresa Trillo                                                                                       0.7    $218.00           $152.60                                    $0.00                                     0

                                               Call to Sacramento County Clerk Recorder re: subpoena of documents.

                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0




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                                               Calls with T. Brett re: call to Sacramento County Clerk Recorder for
                                               subpoena information.
                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                               Create excel spreadsheet of discovery and subpoenas with response
                                               deadlines. Follow up with ACE re: Carol Anderson and U.S. Army Corps
                   Murieta                     of Engineers subpoenas.
                   Equestrian
  2/16/2022 CCKA   Center     Theresa Trillo                                                                                     1.1    $218.00           $239.80                                    $0.00                                      0

                                               Call with T. Brett re: subpoena on county and withdrawal of U.S. Army
                                               Corps of Engineers subpoena.
                   Murieta
                   Equestrian
  2/16/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                               Call with T. Brett re: Sacramento County public works subpoena.

                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00             $0.00                                $21.80                                        0.1

                                               Call with T. Brett re: subpoenas and notice of appearance.

                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00             $0.00                                $21.80                                        0.1

                                               Finalize subpoenas to Sacramento County department of water
                                               resources and planning & environmental review.
                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Theresa Trillo                                                                                     1.0    $218.00           $218.00                                    $0.00                                      0

                                               Email opposing counsel dept of water resources and office of planning &
                                               env review subpoenas. Attempt to place online order with service
                   Murieta                     processor. Email orders to ACE legal services.
                   Equestrian
  2/17/2022 CCKA   Center     Theresa Trillo                                                                                     0.7    $218.00           $152.60                                    $0.00                                      0

                                               Draft notice of association for T. Brett. Email draft with local rule.

                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Theresa Trillo                                                                                     0.3    $218.00            $65.40                                    $0.00                                      0

                                               Calls to county office of planning and environmental review and Second
                                               Amended Complaint county department of water resources re: service
                   Murieta                     addresses for subpoenas.
                   Equestrian
  2/17/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00            $21.80                                    $0.00                                      0

                                               Update dates and deadlines in master spreadsheet and calendar.

                   Murieta
                   Equestrian
  2/18/2022 CCKA   Center     Theresa Trillo                                                                                     0.8    $218.00           $174.40                                    $0.00                                      0




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                                               Telephone call and emails with ACE re: Sacramento County subpoenas.

                   Murieta
                   Equestrian
  2/18/2022 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                               Update discovery spreadsheet with Sacramento County subpoenas.

                   Murieta
                   Equestrian
  2/18/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Call with T. Brett re: notice of association draft.

                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Added delivery dates for Sacramento County subpoenas to spreadsheet
                                               and forward confirmation to T. Brett and J. Flanders.
                   Murieta
                   Equestrian
  2/23/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Draft Proof of Service for second site inspection request and serve on
                                               opposing counsel.
                   Murieta
                   Equestrian
  2/24/2022 CCKA   Center     Theresa Trillo                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                               Call with T. Brett re: e-service of Rule 34 site inspection request

                   Murieta
                   Equestrian
  2/24/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Download and save California Department of Fish and Wildlife subpoena
                                               responses and record response date in discovery spreadsheet.
                   Murieta
                   Equestrian
   3/1/2022 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                               Download and save Touhy response files to share drive. Email to J.
                                               Flanders and T. Brett re: same.
                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center     Theresa Trillo                                                                                       0.8    $218.00           $174.40                                    $0.00                                     0

                                               Locate ED Cal local rules re: brief tables. Check formatting and cites of
                                               reply in support of mtn for leave to file Second Amended Complaint.
                   Murieta                     Send new version to J. Flanders and E. Maharg.
                   Equestrian
   3/3/2022 CCKA   Center     Theresa Trillo                                                                                       1.2    $218.00           $261.60                                    $0.00                                     0

                                               PDF and file reply in support of mtn for leave to file Second Amended
                                               Complaint.
                   Murieta
                   Equestrian
   3/4/2022 CCKA   Center     Theresa Trillo                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0




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                                               Begin uploading State Water Resources Control Board subpoena
                                               documents to share.
                   Murieta
                   Equestrian
   3/7/2022 CCKA   Center     Theresa Trillo                                                                                        2.1    $218.00            $457.80                                     $0.00                                      0

                                               Finish uploading State Water Resources Control Board subpoena and
                                               investigation documents to share.
                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Theresa Trillo                                                                                        3.6    $218.00            $784.80                                     $0.00                                      0

                                               Telephone calls with E. Bustos re: downloading and saving DoD files.

                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00             $43.60                                     $0.00                                      0

                                               Save tranche 01 production documents from Rancho Murieta
                                               Community Services District to file.
                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00             $43.60                                     $0.00                                      0

                                               Move expert report files to Box and begin to make edits to I. Wren expert
                                               report.
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Theresa Trillo                                                                                        3.1    $218.00            $675.80                                     $0.00                                      0

                                               Assist in finalizing I. Wren expert report and expert disclosures.
                                               Formatting and edits to footnotes in expert report. Draft Proof of Service
                   Murieta                     and transfer export report files from Box to Dropbox to provide to
                   Equestrian                  opposing counsel. Serve on opposing counsel.
  3/22/2022 CCKA   Center     Theresa Trillo                                                                                        8.1    $218.00           $1,765.80                                    $0.00                                      0

                                               Download and save Rancho Murieta Community Services District
                                               second document production.
                   Murieta
                   Equestrian
  3/28/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00             $43.60                                     $0.00                                      0

                                               Make corrections to I. Wren expert report.

                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center     Theresa Trillo                                                                                        0.7    $218.00            $152.60                                     $0.00                                      0

                                               Telephone call with J. Flanders re: corrections to I. Wren expert report.
                                               Review email from D. Hunt re: same.
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                      0

                                               Telephone calls with E. Bustos and J. Flanders re: production of
                                               subpoena response documents.
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center     Theresa Trillo                                                                                        0.3    $218.00             $43.60                                 $21.80                                        0.1




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                                               Download defendant's documents responsive to requests for production
                                               Set Three.
                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Theresa Trillo                                                                                       3.3    $218.00           $719.40                                    $0.00                                     0

                                               Finalize, serve, and submit to vendor Carol Anderson subpoena.

                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Theresa Trillo                                                                                       0.9    $218.00           $196.20                                    $0.00                                     0

                                               Telephone call with T. Brett re: Carol Anderson subpoena.

                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Telephone call with ACE legal services re: cutoff time to submit
                                               subpoena for personal service in Rancho Murieta, CA.
                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Finalize meet and confer letter. Email to J. Flanders re: same. Email to
                                               opposing counsel.
                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Theresa Trillo                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                               Upload defendant's documents responsive to requests for production
                                               Set Three to case file.
                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Theresa Trillo                                                                                       2.0    $218.00           $436.00                                    $0.00                                     0

                                               Call with T. Brett re: notice of appearance

                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00            $21.80                                    $0.00                                     0

                                               Edit/finalize requests for production meet and confer letter. Email to J.
                                               Flanders re: same.
                   Murieta
                   Equestrian
   4/7/2022 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00            $43.60                                    $0.00                                     0

                                               Submit joint statement to Judge Barnes and copy opposing counsel.
                                               Also email to courtroom deputy.
                   Murieta
                   Equestrian
  4/14/2022 CCKA   Center     Theresa Trillo                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0

                                               File joint statement via ECF system.

                   Murieta
                   Equestrian
  4/15/2022 CCKA   Center     Theresa Trillo                                                                                       0.3    $218.00            $65.40                                    $0.00                                     0




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                                               Save minutes for proceedings held 4/18/22 (docket 54) to file.

                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                               Prepare Carol Anderson R45 subpoena for mailing and take to USPS for
                                               certified mail/restricted delivery.
                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                     1.5    $218.00           $327.00                                    $0.00                                     0

                                               Email to J. Flanders and T. Brett clarifying USPS signature option for
                                               Carol Anderson subpoena. Draft Proof of Service.
                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                     0.4    $218.00            $87.20                                    $0.00                                     0

                                               Review and respond to email regarding serving Carol Anderson R45
                                               subpoena.
                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                               Review R45 and LR for service and filing requirements for subpoenas.
                                               Email J. Flanders and T. Brett with follow up questions re: Carol
                   Murieta                     Anderson subpoena.
                   Equestrian
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                               Telephone call with E. Bustos re: filing non-party subpoenas

                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                               Telephone call with Jolene at ACE re: unsuccessful attempts serving
                                               Carol Anderson subpoena.
                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Theresa Trillo                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                               Add expenses from USPS and travel to Chaos. Track certified mail
                                               packages for Carol Anderson subpoena and sign up for email
                   Murieta                     notifications.
                   Equestrian
  4/21/2022 CCKA   Center     Theresa Trillo                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                               Email to J. Flanders and T. Brett forwarding USPS delivery confirmation
                                               for Anderson subpoena (Rancho Murieta location).
                   Murieta
                   Equestrian
  4/22/2022 CCKA   Center     Theresa Trillo                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                               Review J. Flanders email re: creating project planning spreadsheet and
                                               attempt to access sample. Email. J. Flanders asking for attachment.
                   Murieta
                   Equestrian
  4/22/2022 CCKA   Center     Theresa Trillo                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0




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                                               Create excel spreadsheet with project outline. Email to J. Flanders.

                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Theresa Trillo                                                                                        0.8    $218.00           $174.40                                    $0.00                                     0

                                               Locate USPS delivery emails for the Carol Anderson Ward subpoena.
                                               Forward to T. Brett and J. Flanders.
                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00            $43.60                                    $0.00                                     0

                                               Telephone call with T. Brett re: Carol Anderson Ward subpoena USPS
                                               delivery status and summarizing attempts to serve for meet and confer
                   Murieta                     letter.
                   Equestrian
  4/26/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                               Revise and add calendar dates based on agreed extensions (04/27
                                               email). Update master spreadsheet to reflect changes.
                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Theresa Trillo                                                                                        0.4    $218.00            $87.20                                    $0.00                                     0

                                               Conferred with J. Flanders re: revisions to schedule and beginning draft
                                               of RJN.
                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                               Create new file folders for Motion for Summary Judgment and RJN. Start
                                               saving documents to RJN draft exhibits folder. List additional documents
                   Murieta                     to draft RJN. Email J. Flanders re: review of initial documents.
                   Equestrian
  4/29/2022 CCKA   Center     Theresa Trillo                                                                                        0.9    $218.00           $196.20                                    $0.00                                     0

                                               Draft template RJN and begin to add exhibits to list. Email to J. Flanders
                                               re: same.
                   Murieta
                   Equestrian
  4/29/2022 CCKA   Center     Theresa Trillo                                                                                        0.7    $218.00           $152.60                                    $0.00                                     0

                                               Finalize and serve set two ROGs.

                   Murieta
                   Equestrian
  4/29/2022 CCKA   Center     Theresa Trillo                                                                                        0.5    $218.00           $109.00                                    $0.00                                     0

                                               Review and respond to J. Flanders email re: documents to add to RJN
                                               list.
                   Murieta
                   Equestrian
  4/29/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00            $21.80                                    $0.00                                     0

                                               Save copy of 3/22 I. Wren expert Dropbox file to SharePoint.

                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo                                                                                        1.2    $218.00           $261.60                                    $0.00                                     0




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                                               Migrate supplemental expert files from box to new Dropbox folder. Email
                                               to J. Flanders re: same.
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo                                                                                     0.8    $218.00           $174.40                                    $0.00                                     0

                                               Finalize and serve supplemental expert report, disclosures, Proof of
                                               Service and Dropbox link.
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo                                                                                     0.5    $218.00           $109.00                                    $0.00                                     0

                                               Review and respond to J. Flanders email re: game plan for service of
                                               supplemental expert report.
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                               Draft Proof of Service for supplemental expert report.

                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo                                                                                     0.2    $218.00            $43.60                                    $0.00                                     0

                                               Revise expert witness disclosures and send to J. Flanders for
                                               review/edits.
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                               Add additional files to supplemental expert Dropbox folder. Email to J.
                                               Flanders re: same.
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0

                                               Gather information on Carol Anderson Ward service attempts. Begin to
                                               draft template of meet and confer letter re: Carol Anderson Ward
                   Murieta                     subpoena.
                   Equestrian
   5/3/2022 CCKA   Center     Theresa Trillo                                                                                     1.3    $218.00           $283.40                                    $0.00                                     0

                                               Download and save supplemental expert file from Dropbox to
                                               SharePoint.
                   Murieta
                   Equestrian
   5/3/2022 CCKA   Center     Theresa Trillo                                                                                     0.5    $218.00           $109.00                                    $0.00                                     0

                                               Revisions to meet and confer letter re: Carol Anderson Ward subpoena.
                                               Email to T. Brett with draft.
                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Theresa Trillo                                                                                     0.3    $218.00            $65.40                                    $0.00                                     0

                                               Telephone call with T. Brett re: draft meet and confer letter.

                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Theresa Trillo                                                                                     0.1    $218.00            $21.80                                    $0.00                                     0




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                                               Review J. Flander's email re: saving and calendaring Defendant's
                                               interrogatories and requests for productions. Save to file, calendar
                   Murieta                     response deadline, and update master spreadsheet. Email J. Flanders
                   Equestrian                  re: same.
   5/5/2022 CCKA   Center     Theresa Trillo                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0

                                               Scan and save Carol Anderson Ward subpoena USPS return receipts.
                                               Email to J. Flanders and T. Brett.
                   Murieta
                   Equestrian
   5/5/2022 CCKA   Center     Theresa Trillo                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0

                                               Draft Proof of Service for objections to Defendant's notice of continued
                                               deposition of IW. Finalize objections and serve on opposing counsel.
                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Theresa Trillo                                                                                      0.5    $218.00           $109.00                                    $0.00                                     0

                                               Telephone call with ACE attorney services re: attempts of service for
                                               02/11 Carol Anderson Ward subpoena.
                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Theresa Trillo                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0

                                               Telephone calls with T. Brett re: Carol Anderson Ward subpoena
                                               attempts on 02/14.
                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Theresa Trillo                                                                                      0.2    $218.00            $43.60                                    $0.00                                     0

                                               Draft Proof of Service for third rule 34 inspection request. Finalize
                                               request and Proof of Service. Electronically serve on opposing counsel.
                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Theresa Trillo                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0

                                               Convert emails from ACE Attorney Services re: Carol Anderson Ward
                                               subpoenas to pdf. Save to share and email folder to J. Flanders and T.
                   Murieta                     Brett.
                   Equestrian
  5/11/2022 CCKA   Center     Theresa Trillo                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0

                                               Review opposing counsel email re: Dropbox link to 3/22 I. Wren Expert
                                               file. Create new link and respond to opposing counsel email.
                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Theresa Trillo                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                               Call with T. Brett re: filing motion for alternative service of Carol
                                               Anderson Ward subpoena and ex parte app for OST
                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center     Theresa Trillo                                                                                      0.1    $218.00            $21.80                                    $0.00                                     0

                                               Locate emails serving Ian Wren supplemental production. Forward
                                               emails to J. Flanders
                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center     Theresa Trillo                                                                                      0.3    $218.00            $65.40                                    $0.00                                     0




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                                               Telephone call with J. Flanders re: file locations of document productions
                                               for all three Ian Wren reports.
                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00             $43.60                                     $0.00                                     0

                                               Telephone call with J. Flanders re: previous service of Ian Wren
                                               supplemental production.
                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                     0

                                               Download and save docket 66 to file.

                   Murieta
                   Equestrian
  10/3/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                     0

                                               Update master case spreadsheet with upcoming 10/18 informal
                                               conference.
                   Murieta
                   Equestrian
  10/4/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                     0

                                               Update dates and deadlines on master case spreadsheet.

                   Murieta
                   Equestrian
 10/21/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                     0

                                               Download and save ECF dkt 70 to case file.

                   Murieta
                   Equestrian
 10/25/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                     0

                                               Download and save ECF dkts 72 and 73. Calendar motion hearing.

                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00             $43.60                                     $0.00                                     0

                                               Edit citations in Motion for Summary Judgment MPA and mark for table
                                               of authorities. Finalize table of authorities. Communicate with E. Bustos
                   Murieta                     re: finalizing and filing.
                   Equestrian
 12/16/2022 CCKA   Center     Theresa Trillo                                                                                        6.6    $218.00           $1,438.80                                    $0.00                                     0

                                               Call with J. Flanders re: formatting and marking cites on Motion for
                                               Summary Judgment brief.
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                     0

                                               Call with E. Bustos to coordinate 6/23 filing of supplemental brief re:
                                               Sackett v U.S. Environmental Protection Agency ruling.
                   Murieta
                   Equestrian
  6/21/2023 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                     0




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                                               Update case status on master case spreadsheet.

                   Murieta
                   Equestrian
  6/28/2023 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00             $21.80                                     $0.00                                      0

                                               Begin drafting response to defendants' request for oral argument (dkt.
                                               97). Email to J. Flanders re: same.
                   Murieta
                   Equestrian
  7/10/2023 CCKA   Center     Theresa Trillo                                                                                        0.6    $218.00            $130.80                                     $0.00                                      0

                                               Download docket report for docket cites in response to request to oral
                                               argument. Review number of pages in supplemental briefing. Revise
                   Murieta                     response, add to pleading paper, and email draft to J. Flanders.
                   Equestrian
  7/11/2023 CCKA   Center     Theresa Trillo                                                                                        0.7    $218.00            $152.60                                     $0.00                                      0

                                               Accept redlines in draft response to request for oral argument. Finalize
                                               and file with court. Download and save ECF dkt. 98 to file.
                   Murieta
                   Equestrian
  7/11/2023 CCKA   Center     Theresa Trillo                                                                                        0.4    $218.00             $87.20                                     $0.00                                      0

                                               Review and respond to J. Flanders email re: research regarding
                                               defendant's website and rules of evidence.
                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00             $34.50                                     $0.00                                      0

                                               Case research and analysis re: websites and hearsay rules.

                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Theresa Trillo                                                                                        1.2    $345.00            $414.00                                     $0.00                                      0

                                               Draft research summary regarding rules of evidence, hearsay, and a
                                               party's website.
                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Theresa Trillo                                                                                        3.0    $345.00           $1,035.00                                    $0.00                                      0

                                               Confer with J. Flanders re: hearsay research.

                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00             $34.50                                     $0.00                                      0

                                               Send email to J. Flanders, E. Bustos, and T. Brett re: status of tables in
                                               motion for leave to file TAC.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00              $0.00                                 $34.50                                        0.1

                                               Teams communications with J. Flanders re: assisting with table of
                                               authorities and filing for Motion for Leave to File Third Amended
                   Murieta                     Complaint.
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00              $0.00                                 $34.50                                        0.1




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                                               Communications with T. Brett re: filing documents under seal for Motion
                                               for Leave to File Third Amended Complaint.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00             $0.00                                $34.50                                        0.1

                                               Send draft Notice of Request to Seal and Request to Seal to J. Flanders
                                               for review.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00             $0.00                                $34.50                                        0.1

                                               Call with T. Brett re: request to file documents under seal in connection
                                               with Motion for Leave to File Third Amended Complaint.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00             $0.00                                $34.50                                        0.1

                                               Comms with J. Flanders re: drafting motion to file documents under seal
                                               in support of Motion for Leave to Amend TAC.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00            $34.50                                    $0.00                                      0

                                               Draft Notice of Request to Seal Documents in connection with Motion for
                                               Leave to File Third Amended Complaint.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.7    $345.00           $241.50                                    $0.00                                      0

                                               Draft Request to Seal Documents in connection with Motion for Leave to
                                               File Third Amended Complaint.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.8    $345.00           $276.00                                    $0.00                                      0

                                               Follow up communications with J. Flanders re: plan and strategy for
                                               request to file Motion for Leave to File Third Amended Complaint
                   Murieta                     documents under seal.
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00            $34.50                                    $0.00                                      0

                                               Locate, download, and analyze exemplar motion to seal documents.

                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.5    $218.00           $109.00                                    $0.00                                      0

                                               Review and analyze protective order and local rules with respect to filing
                                               documents under seal.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         0.4    $345.00           $138.00                                    $0.00                                      0

                                               Draft table of contents and table of authorities (while checking citations)
                                               for Motion for Leave to File Third Amended Complaint.
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                         2.4    $218.00           $523.20                                    $0.00                                      0




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                                               Communications with E. Bustos and T. Brett re: calculating 60-day
                                               notice date with respect to the proposed order granting Motion for Leave
                   Murieta                     to file Third Amended Complaint.
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.2    $345.00             $0.00                                $69.00                                        0.2

                                               Call with T. Brett re: revisions to Request to Seal Documents.

                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00             $0.00                                $34.50                                        0.1

                                               Teams comms with E. Bustos re: 3/26/24 and 4/1/24 service of notice of
                                               intent to Carol Ward Anderson and Carol Ward Anderson Trust.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00            $34.50                                    $0.00                                      0

                                               Call with E. Bustos re: revisions to Notice of Motion for Leave to File
                                               Third Amended Complaint and plan for filing the Notice along with the
                   Murieta                     Request to Seal Documents.
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.2    $218.00            $43.60                                    $0.00                                      0

                                               Call with J. Flanders and T. Brett re: plan and procedure for filing Motion
                                               for Leave to File Third Amended Complaint and Request to Seal
                   Murieta                     Documents.
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.4    $218.00            $43.60                                $43.60                                        0.2

                                               Draft email to J. Flanders and E. Bustos re: 60-day notice deadline
                                               referenced in proposed order granting Motion for Leave to File Third
                   Murieta                     Amended Complaint.
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00            $34.50                                    $0.00                                      0

                                               Review and analyze 60-day notice deadline referenced in proposed
                                               order granting Motion for Leave to File Third Amended Complaint.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.2    $345.00            $69.00                                    $0.00                                      0

                                               Draft email to T. Brett, E. Bustos, and J. Flanders re: pending tasks to
                                               finalize Motion for Leave to File Third Amended Complaint and related
                   Murieta                     Request to Seal Documents.
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.1    $345.00            $34.50                                    $0.00                                      0

                                               Draft Proposed Order Granting Motion for Leave to File Third Amended
                                               Complaint and Add Parties.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.4    $345.00           $138.00                                    $0.00                                      0

                                               Draft Proposed Order Granting Request to Seal Documents.

                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                         0.2    $345.00            $69.00                                    $0.00                                      0




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                                               Make additional revisions to Notice of Request to Seal Documents,
                                               Request to Seal Documents, Brett Declaration, and Proposed Order,
                   Murieta                     following call with J. Flanders and T. Brett re: same.
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                        1.1    $345.00           $379.50                                    $0.00                                      0

                                               Review and revise Notice of Request to Seal Documents, Request to
                                               Seal Documents, Brett Declaration, and Proposed Order.
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                        0.9    $345.00           $310.50                                    $0.00                                      0

                                               Call with J. Flanders re: revisions and review of Request to Seal.

                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00             $0.00                                $34.50                                        0.1

                                               Email revised drafts of Notice of Request to Seal Documents, Request
                                               to Seal Documents, Brett Declaration, and Proposed Order to J.
                   Murieta                     Flanders for review.
                   Equestrian
   4/4/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00             $0.00                                $34.50                                        0.1

                                               Respond to T. Brett's communications re: exhibits listed in Request to
                                               Seal Documents.
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00             $0.00                                $34.50                                        0.1

                                               Make final revisions to and begin to finalize Notice of Request to Seal
                                               Documents, Request to Seal Documents, Brett Declaration, and
                   Murieta                     Proposed Order.
                   Equestrian
   4/4/2024 CCKA   Center     Theresa Trillo                                                                                        1.0    $345.00             $0.00                               $345.00                                         1

                                               Call with E. Bustos re: e-filing the Notice of Request to Seal Documents
                                               and Notice of Motion for Leave to File Third Amended Complaint.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                        0.2    $345.00             $0.00                                $69.00                                        0.2

                                               Call with T. Brett re: preparation of exhibits to Motion for Leave to File
                                               Third Amended Complaint.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00             $0.00                                $34.50                                        0.1

                                               Follow up Teams communications with E. Bustos re: filing and
                                               submitting motion for leave and request to seal.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                        0.4    $345.00             $0.00                               $138.00                                        0.4

                                               Review and analyze E. Bustos' draft service email to opposing counsel.

                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $345.00             $0.00                                $34.50                                        0.1




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                                               Review and respond to J. Flanders' email re: order and process for filing
                                               motion for leave and request to seal.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                       0.1    $345.00            $0.00                                $34.50                                        0.1

                                               Review E. Bustos' folder of documents to be submitted to the court in
                                               support of motion for leave and request to seal filing.
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                       0.1    $345.00            $0.00                                $34.50                                        0.1

                                               Teams communications with E. Bustos re: documents related to
                                               Plaintiff's Motion for Leave and Request to Seal that shall be submitted
                   Murieta                     to the Court via email.
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                       0.1    $345.00            $0.00                                $34.50                                        0.1

                                               Teams communications with E. Bustos re: draft service email to
                                               opposing counsel for service of Motion for Leave to File Third Amended
                   Murieta                     Complaint and supporting documents.
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                       0.3    $345.00            $0.00                               $103.50                                        0.3

                                               Analyze and respond to J. Flander's email re: preparation of binder for
                                               June 28 hearing.
                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00           $21.80                                    $0.00                                      0

                                               Telephone call with E. Bustos re: preparation of hearing binder.

                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00           $21.80                                    $0.00                                      0

                                               Review local rules for information re: procedure for court reporters at
                                               hearings and respond to E. Bustos email regarding same.
                   Murieta
                   Equestrian
  6/19/2024 CCKA   Center     Theresa Trillo                                                                                       0.2    $218.00           $43.60                                    $0.00                                      0

                                               Review the Court's website, Judge's page and procedures, and local
                                               rules re: hearing procedures to determine if we need to request a court
                   Murieta                     reporter.
                   Equestrian
  6/20/2024 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00           $21.80                                    $0.00                                      0

                                               Telephone call with the Clerk's Office to confirm there will be a court
                                               reporter present at the June 28 hearing. Draft email to J. Flanders re:
                   Murieta                     same.
                   Equestrian
  6/20/2024 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00           $21.80                                    $0.00                                      0

                                               Review and draft response to J. Flanders re: availability to assist with
                                               filing supplemental brief.
                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Theresa Trillo                                                                                       0.1    $218.00           $21.80                                    $0.00                                      0




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                                               Finalize and file supplemental brief re: Loper Bright.

                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Theresa Trillo                                                                                        0.4    $218.00            $87.20                                    $0.00                                      0

                                               Review and draft communications with J. Flanders re: citations and
                                               finalizing Loper Bright supplemental Brief.
                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00            $43.60                                    $0.00                                      0

                                               Review and revise citations in Loper Bright supplemental brief to finalize
                                               for filing.
                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Theresa Trillo                                                                                        2.0    $218.00           $436.00                                    $0.00                                      0

                                               Teleconference with J. Flanders re: filing Loper Bright Supplemental
                                               Brief.
                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00            $21.80                                    $0.00                                      0
                                               Totals                                                                          105.2                     $23,041.00                              $1,556.30                                        5.1




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